 

 

Case 3:14-cr-00028-SRU Document 176-1 Filed 10/27/17

TRAVEL REQUEST FORM

Date: october 17,2017

 

Name: Danielle M. Faux

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Address: 59 Valley Forge Road weston, ct 06883

 

Phone Number: 203-227-6666 home, 203-253-0919 cell

 

Destination: Key West, Fl

 

Departure Date: Nov 18, 2017

 

Retum Date: Nov 25 2017

 

Purpose of Trip: family thanksgiving

 

Person(s) Traveling With: Nicholas Corwin

 

Accommodations (Will be Verified)

Name: Corwin/C302

 

Address: c/o Coconut Beach Resort 1500 Alberta Street, Key West, f1 33040

 

 

Phone Number: 305-294-0057

 

Mode of Transportation

Vehicle: n/a

 

Make and Model:

 

Tag Number:

 

Owner of Vehicle

 

Airline:

Name of Airline: united

 

Departure Flight Number and Time: 3697 9:15am

 

Return Flight Number and Time: 3698 1:25

 

Other Mode of Transportation Specify): n/a/

 

 

 

 
